Case 5:12-cv-01341-G Document 541-2 Filed 02/09/21 Page 1 of 2

From: Chris Davis
To: Evan Kaufman
Cc: Christopher Gilroy; Frank Karam; Jason Callaway; Lee Ann Lee; Herbert Beigel
Subject: Sandridge Responses to Interrogatory Nos. 10 and 13
Date: Monday, December 14, 2020 5:26:02 PM
Attachments: Supplemental Interrogatory Responses 12.14.2020..pdf
image001.png
Importance: High

 

Dear Counselors:

Attached please find Sandridge’s responses to Interrogatory Nos. 10 and 13. Tomorrow | will have
my assistant Lee Ann circulate these with a transmittal letter to all counsel of record. It is
Sandridge’s position that we have now complied with the Court’s order. Thank you for your
courtesy in agreeing for us to have up to 30 days additional time.

On a separate but related topic, with the complete depletion of insurance funds, and in light of the
Plan of Re-Organization provisions which permit SandRidge to remain as a named defendant in this
litigation only to the extent of insurance, would you stipulate to a dismissal of SandRidge? We
would be open to a discussion about it being without prejudice if required.

Please contact me if you have any questions about this.

Best regards,

J. Christopher “Chris” Davis
JOHNSON & JONES, P.C.

Two Warren Place

6120 South Yale Avenue, Suite 500
Tulsa, Oklahoma 74136

Phone: 918-584-6644

Fax: 888-789-0940

CDavis@ial af

Martindale-Hubbell

PREEMINENT
Peer Rated for Highest Level 2018
& of ib ceeancabba cache

Information contained in the accompany ing transmission is or may be protected by the attorney-client and/or the attorney work product privilege, and is confidential.
Any advice concerning United States Federal tax issues provided in this clectronic message, including attachments and enclosures, is nol intended or written to be used,

and cannot be used by any taxpayer for the purpose of (i) avoiding penalties that may be imposed on the taxpayer or (ii) promoting, marketing or recommending to
another party any transaction or matter addressed herein

From: Evan Kaufman [mailto:ekaufman@rgrdlaw.com]

Sent: Thursday, November 12, 2020 9:37 AM

To: Chris Davis <CDavis@johnson-jones.com>

Ce: Christopher Gilroy <CGilroy@rgrdlaw.com>; Frank Karam <FKaram@rgrdlaw.com>; Jason
Callaway <JCallaway@johnson-jones.com>; Lee Ann Lee <llee@johnson-jones.com>; Herbert Beigel
<hbeigel@me.com>
Case 5:12-cv-01341-G Document 541-2 Filed 02/09/21 Page 2 of 2

Subject: Re: Sandridge call

Chris,

We do not believe a further telephone conference is necessary. We believe that SandRidge
should fulfill its discovery obligations and comply with Judge Goodwin's Order. If you
change your mind and would prefer to comply with the Order, we are happy to consider a
reasonable extension for you to serve your interrogatory responses.

Best regards,

Evan

Evan J. Kaufman

 

 

 

 

 

58 South Service Road, Suite 200
Melville, NY 11747
(631) 367-7100

eae ee

 

On Nov 11, 2020, at 7:58 PM, Chris Davis <CDavis@iohnson-jones.com> wrote:

Lee Ann - the parties wanted to have one more call tomorrow. Please coordinate
a call in the afternoon.

Respectfully,

J. Christopher Davis
Johnson Jones P.C.

Two Warren Place

6120 S. Yale Ave., Suite 500
Tulsa, Ok 74136

(918) 584-6644

NOTICE: This emall message Is for the sole use of the Intended
reciplent(s) and may contain information that is confidential and
protected from disclosure by the attorney-client privilege, as
attorney work product, or by other applicable privileges. Any
unauthorized review, use, disclosure or distribution is prohibited.
If you are not the Intended reciptent, please contact the sender
by reply email and destroy all copies of the original message.
